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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


BYRON TAYLOR, TERRAINE R.
DENNIS, KENNETH HUNTER,
KENDALL MATTHEWS, and LONNIE               CASE NO. 2:19-cv-10635-ILRL-JVW
TREAUDO, on Behalf of Himself and on
Behalf of All Others Similarly Situated,   JUDGE IVAN L.R. LEMELLE

      Plaintiffs,                          MAG. JANIS VAN MEERVEED

V.

HD AND ASSOCIATES, LLC, and JOHN
DAVILLIER

      Defendants.


              RESTRICTED – FILED UNDER SEAL (SEE REC. DOC. 96)
